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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                 )
                                           )
 Plaintiff,                                )
                                           )
 vs.                                       )     NO. 2:10-CR-109
                                           )         (2:14-CV-11)
 ALEX GUERRERO                             )
                                           )
 Defendant.                                )


                           OPINION AND ORDER
       This matter is before the Court on the Motion Under 28 U.S.C.

 Section 2255 To Vacate, Set Aside, Or Correct Sentence By a Person

 in Federal Custody, filed by Alex Guerrero on January 10, 201 (DE

 #1108).   For the reasons set forth below, the section 2255 motion

 is DENIED.      The Clerk is ORDERED to DISMISS this case WITH

 PREJUDICE. The Clerk is ORDERED to distribute a copy of this order

 to Alex Guerrero, #11905-027, Allenwood FCI - 1000- Low, Federal

 Correctional Institution, Inmate Mail/Parcels, P.O. Box 1000, White

 Deer, PA 17887, or to such other more current address that may be

 on file for the Petitioner.      Further, this Court declines to issue

 Defendant a certificate of appealability.



 BACKGROUND

       On November 16, 2011, a Third Superseding Indictment was filed
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 against Defendant, Alex Guerrero and twenty other defendants.1 (DE

 #230).       Guerrero was charged in Counts One, Two, Fourteen, and

 Fifteen of the 15-count Third Superseding Indictment.                  Count One

 charged Guerrero and others with conspiracy to participate in

 racketeering activity in violation of 18 U.S.C. § 1962.                Count Two

 charged Guerrero and others with conspiracy to possess with intent

 to distribute and distribute cocaine and marijuana in violation of

 21 U.S.C. § 846. Count Fourteen charged Guerrero with interference

 with commerce by threats or violence, in violation of 18 U.S.C. §

 1951.       Count Fifteen charged Guerrero with using and carrying a

 firearm during and in relation to crimes of violence and drug

 trafficking, in violation of Title 18 U.S.C. § 924(c)(1)(A).

         On July 26, 2012, Guerrero entered into a plea agreement with

 the Government, and the agreement was filed with this Court.                   (DE

 #501).       In it, Guerrero agreed to plead guilty to Count One, Two,

 Fourteen, and Fifteen of the Third Superseding Indictment.                  (Id.,

 ¶ 7).       The Government and Guerrero also reached certain agreements

 that were not binding on the Court.           (Id., ¶ 8).         Specifically,

 they agreed that if Defendant continued to accept responsibility

 for his criminal conduct, he should receive a two point, and if

 eligible, an additional one point reduction in his Guideline

 offense       level.   (Id.,   ¶   9(a)).    They   also     agreed    that    the



         1
         The case had a total of 23 defendants, but two plead guilty prior to
 the filing of the Third Superseding Indictment.

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 Government would recommend a sentence equal to the minimum of the

 applicable guideline range.      (Id., ¶ 8(b)).          They further agreed

 that Defendant is responsible for 150 kilograms or more of a

 mixture and substance containing a detectable amount of cocaine;

 that the victim of Count 14 was physically restrained, that

 Defendant abused a position of public trust that significantly

 facilitated the commission or concealment of the offense, and that

 Defendant used body armor during the commission of the offense.

 (Id., ¶ 8(c)-(f)).       Lastly, they agreed that, considering the

 totality of the circumstances, “a just and appropriate sentence as

 to a term of imprisonment is a period of 228 months.” (Id., ¶ 9).

       Further, Defendant agreed that his attorney had “done all that

 anyone could do to counsel and assist [him],” that he was offering

 his guilty plea “freely and voluntarily and of [his] own accord,”

 that “no promises [had] been made to [him] other than those

 contained in [the] agreement,” and that he had not been “threatened

 in any way by anyone to cause [him] to plead guilty in accordance

 with [the] agreement.”      (Id., ¶¶ 15-16).

       This Court held a change of plea hearing on August 2, 2012.

 (DE ##516, 1114).    When asked whether he was “fully satisfied with

 the counsel, representation, and advice given to you in this case

 by Mr. Milner as your attorney?” Guerrero replied “yes, Your

 Honor.” (DE #1114 at 8-9). After Guerrero read through paragraphs

 7 through 14 of his plea agreement, the Court asked him whether he


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 read it previously, understood it, agreed with it, and was asking

 the Court to approve it.        Guerrero answered yes to each of these

 questions.    (Id. at 9-10).     Guerrero acknowledged repeatedly that

 he agreed with the individual and collective terms of the plea

 agreement and confirmed that he wanted to plead guilty under the

 agreement.    (Id. at 9-65).

       The   Court    informed   Guerrero    of   the   maximum    and      minimum

 penalties for each of the four counts he was pleading guilty to.

 (Id. at 14-21). Guerrero indicated that he understood the possible

 sentences he could receive.       (Id.).

       The Court also confirmed that Guerrero understood that the

 Court would ultimately decide his sentence and that neither the

 Government’s recommendations nor the Guidelines were binding. (Id.

 at 26-31).    This included clear notification that the Government’s

 recommendation that Guerrero be sentenced to a term of imprisonment

 of 228 months was not binding on the Court.              (Id. at 30-31).

       The following exchange occurred:

              Q: Finally, under subsection (g), you and the
              government are in agreement pursuant to Title
              18, United States Code, Section 3553, which
              are factors that the Court has to consider,
              and with regards to cooperation that you’re
              going to have in paragraphs 10 and 11, that a
              proper sentence in this case would be 228
              months; is that correct?

              A:     Yes, Your Honor.

              Q:     Mr. Guerrero, do you understand that this
                     is only a recommendation? Who makes the
                     final decision?

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              A:     You do, Your Honor.

              Q:     And you understand that I may agree with
                     all of you. I may not. I may think your
                     sentence should be higher or lower. Do
                     you understand that?

              A:     Yes, Your Honor.

              Q:     Are you in agreement with that?

              A:     Yes, Your Honor.

 (Id. at 30-31).

         The Court asked Guerrero to explain why he was guilty of each

 Count.     (Id. at 46).      He indicated that the crimes took place

 between 2004 and 2006 in both Illinois and Indiana.               (Id. at 46-

 47).     Guerrero was a Chicago police officer at the time and was

 taking directions from Sisto Bernal, a member of the Latin Kings.

 (Id. at 47). More specifically, he “just took directions regarding

 these robberies.”       (Id. at 48).       He admitted he, along with his

 police partner, “committed the robberies at his [Sisto Bernal’s]

 direction.”       (Id. at 50).   He admitted to robbing drugs, money and

 guns.     (Id.).     These were given to Sisto Bernal.             (Id.).     He

 further admitted that these robberies were done in order to make

 the efforts and the activities of the Latin Kings successful. (Id.

 at 53).

         With regard to Count 14, Guerrero testified that “[i]t was a

 robbery that my partner and I committed” in December of 2006.

 (Id.).    He robbed James Walsh, also known as Jim Bob.          (Id. at 54).

 He stated that “My partner and I, with our police uniforms, went

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 into his property.”     (Id.).    They then took his possessions.             He

 further admitted that he had a weapon and that he used the uniform

 and weapon in order to accomplish the robbery.             (Id. at 54).       He

 indicated that the stolen property was turned over to Sisto Bernal.

 (Id. at 55).

       The Court also asked counsel for the Government to summarize

 the facts that they were prepared to prove at trial with regard to

 each count that Guerrero intended to plead guilty.               (Id. at 57).

 The following summary was provided:

                  As to Count One, the RICO conspiracy, if
            the government proceeded to trial, we would
            prove beyond a reasonable doubt that the Latin
            Kings, including its associates, constituted
            an enterprise as defined in the statute, a
            group of individuals associated in fact. The
            Latin     Kings    constituted   an    ongoing
            organization whose members function as a
            continuing unit for the common purpose of
            achieving the objectives of the enterprise.
            The enterprise was engaged in and its
            activities affected interstate commerce.
                  From   roughly   2004   to  2006,   this
            defendant, together with his Chicago Police
            Department partner, Antonio Martinez, and
            Sisto Bernal, who was one of the leaders of
            the Latin Kings, and others knowingly and
            intentionally    conspired   to  conduct   and
            participate in the conduct of the affairs of
            the Latin Kings through a pattern of
            racketeering activity, here consisting of
            multiple acts of Hobbs Act robberies and drug
            trafficking.
                  More specifically, during the course of
            the conspiracy, in the same time period, 2004-
            2006, this defendant, Mr. Guerrero, was
            employed as a Chicago Police Department
            officer on the south side of Chicago. He was
            assigned to a tactical unit.     He would not
            wear a police uniform. He would wear civilian
            clothes or tactical gear and carry his

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            department issued gun, his badge and a
            bulletproof vest and clothing that was marked
            with the Chicago Police Department on it.
            During this time period, his co-defendant,
            Antonio Martinez, was his partner.
                  During the course of the conspiracy, this
            defendant and his partner Martinez agreed to
            commit and then did commit multiple Hobbs Act
            robberies, sometimes referred to as drug rips,
            on the street on behalf of Sisto Bernal, one
            of the leaders of the Latin Kings.         They
            committed these robberies while on the clock
            while    working   for   the   Chicago   Police
            Department during their duty shifts.       They
            also did it off duty. They wore their badges
            and vests and department-issued firearms,
            drove their unmarked Chicago Police Department
            cars.     Those robberies occurred both in
            Chicago and the Northern District of Indiana.
            In this district they were primarily in
            Hammond and East Chicago.
                  During the course of these robberies,
            this defendant and his partner pretended that
            they were doing legitimate traffic stops on
            duty and search warrants and searches on duty
            and in their capacity as police officers, but
            what they were really doing was looking for
            drugs, guns and money to turn over to Sisto
            Bernal and the Latin Kings back in Chicago.
            These robberies include, but aren’t limited
            to, an event between 2004 and 2006 where this
            defendant and his partner and Sisto Bernal and
            another individual drove from Chicago to a
            warehouse around Rockford, Illinois, that was
            being used to store marijuana.      There, this
            defendant and his partner, they were in
            tactical gear with their badges and firearms
            marked as Chicago police officers. At Sisto
            Bernal’s direction, they broke into the
            warehouse and stole a large amount of
            marijuana. They turned it over to Bernal and
            were paid approximately $2,000 each for this.
                  There was another event between 2004 and
            2006    where  Sisto   Bernal   directed   this
            defendant and his partner to make a traffic
            stop on a female driver who was transporting
            marijuana from Mexico up to Chicago.       They
            were in their Chicago Police Department car.
            They had their badges on, their department-

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            issued firearms. They did this traffic stop
            posing or pretending like they were doing a
            legitimate police traffic stop. They released
            the female driver.      They held on to her
            minivan. They tore it up and located between
            90 and 100 pounds of marijuana, which they
            turned over to Sisto Bernal.
                  During the same time period, 2004 to
            2006, Sisto Bernal directed this defendant and
            his partner to the residence of a drug
            trafficker in East Chicago, Indiana, in the
            Northern District of Indiana, obviously
            outside of their jurisdiction as Chicago
            police officers. Again, under the guise of a
            legitimate police investigation, they posed as
            police officers. They had their badges, their
            guns, marked as Chicago police officers. And
            they took between $20,000 and $25,000 of drug
            money and turned it over to Sisto Bernal, and
            they were paid 3 to $4,000 each for this.
                  During   all  these   events  that   I’m
            discussing today, there were never any
            arrests, no paperwork was ever turned in and
            no evidence was ever turned in to the Chicago
            Police Department.
                  There was another event between 2004 and
            2006 in the City of Chicago where these two
            defendants were sent by Sisto Bernal.     They
            were sent by a man, Hiluterio Chaves, also
            known as Zeus or Tails. He was a Latin King.
            They did another Hobbs Act robbery, this time,
            again, they were in Chicago uniforms –- strike
            that - - Chicago police tactical gear, wearing
            their badges, their guns, marked as police
            officers. Again, they were under the guise of
            a legitimate police investigation. This time
            they took a Latin King, Hiluterio Chavez, with
            them who posed as a police officer between the
            course of this. And they stole between 20 and
            $40,000 in drug proceeds and turned it over to
            Sisto Bernal. Each were paid 5 to $6,000 for
            this.
                  In October of 2005, there was another
            search they did, another drug rip they did
            here in Hammond, Indiana, not far from this
            courthouse, on Harrison Avenue. There, during
            that search, they were sent by Sisto Bernal
            again, driving a police car, wearing badges
            and their department-issued guns and marked as

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            police officers.    They took two Glock brand
            pistols that the resident legally owned and
            turned those over to Sisto Bernal.      One of
            those guns turned up during a traffic stop in
            Nebraska a time later.
                 Then, in December 2006, there was another
            Hobbs Act robbery they conducted. That was at
            the residence of James Walsh, also known as
            Jim Bob.     He was a leader of the Latin
            Dragons. He was one of the individuals killed
            at the Sopranos Restaurant in Griffith.
            That’s also part of the indictment.     There,
            again, they are driving a tactical car. They
            have badges.    They have their vests.    They
            have their department-issued guns. They went
            inside. They tied people up, and they stole
            firearms and some currency and some narcotics
            and turned it over to Sisto Bernal.
                 During all these events, he and his
            partner are armed. During all these events,
            they abused a position of power. During some
            of these events, people were physically
            restrained and tied up, and they wore their
            tactical ballistic vests during all these.
                 Turning   to    Count   Two,   the   drug
            conspiracy, it is basically the same set of
            facts.       They    were   stealing    drugs,
            predominately cocaine, and turning it over to
            Sisto Bernal, the leader - - or one of the
            leaders of the Latin Kings. Through Pinkerton
            liability, they are liable for over 150 kilos
            or more of cocaine and a thousand kilos or
            more of marijuana, and these amounts were
            foreseeable to this defendant.
                 Turning to Count 14 and 15, it’s the same
            set of facts that I mentioned earlier,
            discussing   the   robbery,   the  Hobbs   Act
            robberies in December of 2006. There was a
            residence here in Hammond of James Walsh.
            It’s the same facts that I discussed above.
            Again, they’re in uniform with guns, badges,
            and they did one of these robberies at this
            residence and took the things that I mentioned
            before.
                 In Count 15 – well, strike that.
                 Moving backwards, as far as interstate
            commerce, they took narcotics that would have
            traveled in interstate commerce.     They took
            drugs which would have traveled and affected

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             interstate commerce.
                  Further than that, as I mentioned, Mr.
             Walsh was a leader of the Latin Dragons. That
             is an organization that operates both in
             Indiana and in Illinois, and they are an
             organization    that    affected    interstate
             commerce.
                  As far as the 924(c) count in Count 15,
             that’s the same set of facts.        He had a
             firearm, his department-issued firearm while
             doing that robbery.
                  That’s all.

 (Id. at 57-63).

       After a few follow up questions regarding the interstate

 commerce requirement, the following exchange occurred between the

 Court and Mr. Guerrero:

             Q:    Mr. Guerrero, did you listen and pay
                   close attention to the government’s
                   summary of facts constituting the crime
                   charged?
             A:    Yes, Your Honor.
             Q:    Do you agree with the government’s
                   summary of facts?
             A:    Yes, Your Honor.
             Q:    Any part of it you disagree with?
             A:    No, Your Honor.

 (Id. at 64).

       Following this exchange, counsel for both the Defendant and

 the Government stated that they were satisfied that the Defendant’s

 plea was made knowingly and voluntarily and that it was supported

 by an independent basis in fact containing each of the essential

 elements of the offenses.      (Id. at 64).     Guerrero then pled guilty

 to each of the four counts of the Third Superseding Indictment.

 (Id. at 64-65).      Based on Guerrero’s responses at the change of

 plea hearing, this Court found:

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             that the defendant, Alex Guerrero, is fully
             competent and capable of entering an informed
             plea and that his plea of guilty to the
             charges contained in Counts 1, 2, 14, and 15
             of the third superseding indictment is a
             knowing and voluntary plea supported by an
             independent basis in fact containing each of
             the essential elements of the offenses.

 (Id. at 65).

       On January 11, 2013, the Court sentenced Guerrero. (DE #739).

 There were no objections to the Guideline calculation set forth in

 the Presentence Report (see            DE #700).    This Court sentenced

 Guerrero to a total term of imprisonment of 228 months. (DE #739).

 This consisted of 168 months for each of Counts 1, 2 and 14, and 60

 months for Count 15, to be served consecutively.            (Id.).       This is

 the length of imprisonment that the parties agreed was a just and

 appropriate sentence in their plea agreement.              (DE #501 at 5).

 Judgment was entered on January 15, 2013. (DE #743). Guerrero did

 not file a notice of appeal.

       Guerrero filed the instant motion under section 2255 on

 January 10, 2014, setting forth several arguments: (1) “Denial of

 effective Assistance of counsel”; (2)”Conviction obtained by plea

 of guilty which was unlawfully induced or not made voluntarily or

 with understanding of the nature of the charge and the consequences

 of the plea”; (3) “Conviction obtained by the unconstitutional

 failure of the prosecution to disclose to the defendant evidence

 favorable to the defendant”; (4) “My constitutional and civil

 rights were violated.”        (DE #1108).          The Government filed a


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 response to the instant motion on March 31, 2014 (DE # 1122).

 Thereafter, Guerrero obtained counsel and counsel filed a reply on

 his behalf on July 28, 2014. (DE ## 1134, 1144).               Therefore, this

 motion is fully briefed and ripe for adjudication.



 DISCUSSION

       Habeas corpus relief under 28 U.S.C. section 2255 is reserved

 for "extraordinary situations."          Prewitt v. United States, 83 F.3d

 812, 816 (7th Cir. 1996).        In order to proceed on a habeas corpus

 motion pursuant to 28 U.S.C. section 2255, a federal prisoner must

 show that the district court sentenced him in violation of the

 Constitution or laws of the United States, or that the sentence was

 in excess of the maximum authorized by law, or is otherwise subject

 to collateral attack.      Id.

       A   section   2255   motion   is      neither   a   substitute        for    nor

 recapitulation of a direct appeal.           Id.; Belford v. United States,

 975 F.2d 310, 313 (7th Cir. 1992), overruled on other grounds by

 Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).                        As a

 result:

              [T]here are three types of issues that a
              section 2255 motion cannot raise: (1) issues
              that were raised on direct appeal, absent a
              showing    of   changed    circumstances;  (2)
              nonconstitutional issues that could have been
              but were not raised on direct appeal; and (3)
              constitutional issues that were not raised on
              direct appeal, unless the section 2255
              petitioner    demonstrates    cause   for  the
              procedural default as well as actual prejudice
              from the failure to appeal.

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 Belford, 975 F.2d at 313.       Additionally, aside from demonstrating

 "cause" and "prejudice" from the failure to raise constitutional

 errors    on   direct    appeal,       a        section   2255   petitioner         may

 alternatively pursue such errors after demonstrating that the

 district court's refusal to consider the claims would lead to a

 fundamental miscarriage of justice.               McCleese v. United States, 75

 F.3d 1174, 1177 (7th Cir. 1996).

       In assessing Defendant's motion, the Court is mindful of the

 well-settled     principle    that,         when     interpreting      a      pro   se

 petitioner's complaint or section 2255 motion, district courts have

 a "special responsibility" to construe such pleadings liberally.

 Donald v. Cook County Sheriff's Dep't, 95 F.3d 548, 555 (7th Cir.

 1996); Estelle v. Gamble, 429 U.S. 97, 106 (1976) (a "pro se

 complaint, 'however inartfully pleaded' must be held to 'less

 stringent standards than formal pleadings drafted by lawyers'")

 (quoting Haines v. Kerner, 404 U.S. 519 (1972)); Brown v. Roe, 279

 F.3d 742, 746 (9th Cir. 2002) ("pro se habeas petitioners are to be

 afforded 'the benefit of any doubt'") (quoting Bretz v. Kelman, 773

 F.2d 1026, 1027 n.1 (9th Cir. 1985)).                In other words:

             The mandated liberal construction afforded to
             pro se pleadings "means that if the court can
             reasonably read the pleadings to state a valid
             claim on which the [petitioner] could prevail,
             it should do so despite the [petitioner's]
             failure to cite proper legal authority, his
             confusion of various legal theories, his poor
             syntax and sentence construction, or his
             unfamiliarity with pleading requirements."


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 Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas

 petition from state court conviction) (alterations in original)

 (quoting Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).

 On the other hand, "a district court should not 'assume the role of

 advocate for the pro se litigant' and may 'not rewrite a petition

 to include claims that were never presented.'"               Id.    Here, while

 Guerrero did have counsel at the time his reply was filed, the

 petition was filed pro se; therefore, the Court has assessed

 Guerrero’s claims with these guidelines in mind.



 Guerrero’s Claims are Without Merit

        Claims of ineffective assistance of counsel are governed by

 the 2-pronged test set forth in Strickland v. Washington, 466 U.S.

 668 (1984).     To prevail on an ineffective assistance of counsel

 claim, the Defendant must first show the specific acts or omissions

 of    his    attorney      "fell    below     an   objective       standard     of

 reasonableness" and were "outside the wide range of professionally

 competent assistance."          Barker v. United States, 7 F.3d 629, 633

 (7th Cir. 1993) (quoting Strickland, 466 U.S. at 688, 690); see

 also Hardamon v. United States, 319 F.3d 943, 948 (7th Cir. 2003);

 Anderson v. Sternes, 243 F.3d 1049, 1057 (7th Cir. 2001).                      The

 second Strickland prong requires defendant to show prejudice, which

 entails     showing   by   "a    reasonable    probability     that,     but   for

 counsel's unprofessional errors, the result of the proceeding would

 have been different."       Strickland, 466 U.S. at 694.           Regarding the

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 deficient-performance prong, great deference is given to counsel's

 performance, and the defendant has a heavy burden to overcome the

 strong presumption of effective performance.            Strickland, 466 U.S.

 at 690; Coleman v. United States, 318 F.3d 754, 758 (7th Cir. 2003)

 (citation omitted).      A defendant must establish specific acts or

 admissions that fell below professional norms.               Strickland, 466

 U.S. at 690.     If one prong is not satisfied, it is unnecessary to

 reach the merits of the second prong.          Id. at 697.

       The   Seventh   Circuit    has   held   that   “[o]nly     those    habeas

 petitioners who can prove under Strickland that they have been

 denied a fair trial by the gross incompetence of their attorneys

 will be granted the writ.”       Canaan v. McBride, 395 F.3d 376, 385-86

 (7th Cir. 2005).      Additionally, trial counsel “is entitled to a

 ‘strong presumption’ that his performance fell ‘within the range of

 reasonable professional assistance’ and will not be judged with the

 benefit of hindsight.’”      Almonacid v. United States, 476 F.3d 518,

 521 (7th Cir. 2007) (citing Strickland, 466 U.S. at 689).

       Guerrero’s claim of ineffective assistance of counsel is

 difficult to understand.        He states that:

             My attorney stated to me after reviewing my
             case that I had committed no crime, my only
             connection to this case was through my Chicago
             Illinois   police   patrol   partner   Antonio
             Martinez who had a connection with the Latin
             King street gang.    At no time did Antonio
             Martinez alert me to any illegal activities.
             My attorney led me to believe that after
             investigating this case I had nothing to worry
             about that I would be cleared.


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 (DE #1108 at 5).    Although it is not entirely clear how he believes

 his counsel was ineffective, what is clear is that Guerrero

 directly contradicted this claim at his change of plea hearing. He

 repeatedly admitted his guilt, providing many details, as noted

 above.    “Because of the great weight we place on these in-court

 statements,    we   credit   them   over    [defendant’s]    later       claims.”

 United States v. Martinez, 169 F.3d 1049, 1054 (7th Cir. 1999).

 The Court will not allow Guerrero to rewrite history in order to

 undercut the provisions to which he willingly agreed.             Id. (citing

 United States v. Byrd, 669 F. Supp. 861 (N.D. Ill. 1987)).                     See

 also United States v. Chavers, 515 F.3d 722, 725 (7th Cir. 2008)

 (in the context of a defendant’s attempt to withdraw his guilty

 plea, subsequent “bare protestations of innocence” that contradict

 his sworn testimony made during the plea hearing are insufficient

 to do so); United States v. Pike, 211 F.3d 385, 389 (7th Cir. 2000)

 (representations made by the defendant during a change of plea

 hearing are “entitled to a presumption of verity.”).2                    As such,

 Guerrero’s claim that his counsel was ineffective must fail.



       2
         Furthermore, “[w]hen a district court conducts a Rule 11 colloquy, it
 is not putting on a show for the defendant, the public, or anybody else. The
 purpose of a Rule 11 colloquy is to expose coercion or mistake, and the
 district judge must be able to rely on the defendant's sworn testimony at that
 hearing. Because the court takes a criminal defendant's rights at a
 change-of-plea hearing very seriously, it is reasonable to expect, and demand,
 that the criminal defendant do so as well. For that reason, a defendant is
 normally bound by the representations he makes to a court during the
 colloquy.” Hutchings v. United States, 618 F.3d 693, 699 (7th Cir. 2010)
 (internal quotation marks and citations omitted).




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       Next, Guerrero argues that his “[c]onviction [was] obtained by

 plea of guilty which was unlawfully induced or not made voluntarily

 or   with   understanding    of   the    nature     of   the   charge      and   the

 consequences of the plea.”         (DE #1108 at 4).              He explains as

 follows:

             I plead guilty because my attorney told me
             that there was over whelming [sic] evidence
             against me including, a gun, which was the
             firearm that I carry as a part of my duty as a
             Police Officer not to use as a part of any
             illegal     activities,     alleged     phone
             conversations that led to Mexico that the
             government claimed were illegal activities.
             These phone calls were my wife’s relatives
             whom she call [sic] periodically to check [on]
             their welfare. I had no knowledge of these
             phone calls.
 (Id.).

       Again, Guerrero’s claim that his police issued firearm was not

 used in any illegal activity is directly contrary to his testimony

 at his change of plea hearing.         He has not presented any reason for

 this Court to credit his current version of the facts over his

 prior sworn testimony.      At the change of plea hearing, this Court,

 in agreement with counsel for the Defendant and the Government,

 found that Guerrero’s plea of guilty was made knowingly and

 voluntarily.       His   current       statements    to    the    contrary       are

 unpersuasive.     As a result, this claim also fails.

       Guerrero also argues that his “[c]onviction [was] obtained by

 the unconstitutional failure of the prosecution to disclose to the

 defendant evidence favorable to the defendant.” (DE #1108 at 4).

 He provides only the following in support of this claim:

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              I was told by my attorney that the prosecution
              delayed giving my attorney information that
              would [have] proven my innocence and or was
              favorable to my case. Please refer to my PCR.
              Please see attachment.

 (Id.).

       It is not clear what portion of the PCR (presumably the Pre-

 sentence Investigation Report) he thinks supports this claim.                   The

 attachment he referenced is simply the sentencing memorandum filed

 by his counsel. (DE # 734). This memorandum describes Guerrero as

 a “follower” but in no way denies that Guerrero was knowingly

 involved in the crimes to which he pled guilty. To date, no

 evidence has been produced whatsoever that would prove Guerrero’s

 innocence.        Even now, Guerrero does not tell the Court what

 evidence    was    allegedly    produced    late,   or    how   that       evidence

 allegedly would have proven his innocence.               Vague assertions are

 not enough.    Oliver v. United States, 961 F.2d 1339, 1343 n.5 (7th

 Cir. 1992)(noting that, if the allegations of a section 2255 motion

 are vague or conclusory, the motion may be denied without a

 hearing).     This claim fails for vagueness.

       Lastly, Guerrero argues that his “constitutional and civil

 rights were violated.”         He further explains as follows:

              Before I could get to trial, I was accused in
              the eye of the media who was bias and
              judgmental against me for being a Chicago
              Police Officer who are held to a higher
              standard. At the time of my court appearance
              I was already judged guilty, my name was
              slandered,   my   association   with   Antonio
              Martinez made me look guilty. My police union
              they ask me to sign papers that I thought were

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               to help me receive representation they turned
               out to be dismissal papers. I was told that I
               was no longer a part of them. I have fellow
               officers in the Chicago Police Department that
               want to come forward but could not for fear of
               losing their jobs.

 (DE   #1108     at   5).     First   off,     Guerrero’s     alleged        wrongful

 termination by the Chicago Police Department is not a basis for

 relief under 28 U.S.C. section 2255.            And, even if his assertion

 that the public viewed him as guilty before trial is true, that too

 provides no basis for relief under section 2255.               Guerrero is not

 arguing that any jury was unfairly biased against him - just that

 public opinion was biased against him.             Indeed, this case never

 proceeded to a jury trial.             As a result, this claim does not

 include    any    facts    which   would     support   his    claim     that     his

 constitutional and civil rights were violated.

       While this resolves each of Guerrero’s claims, one additional

 matter must be addressed.            It was noted earlier that Guerrero

 obtained counsel after his section 2255 motion was filed and that

 the reply brief was filed by counsel.           According to counsel:

               [Guerrero’s] plea was primarily based upon
               speculation and careless recommendations from
               his trial counsel. Most significant was the
               representation by counsel that Guerrero could
               possibly face life in prison if he lost at
               trial.

 (DE #1144 at 2-3).         According to counsel, Guerrero’s plea is the

 result of this “misinformation.”              (Id. at 3).      What Guerrero’s

 section 2255 motion actually says is not that his counsel told him


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 that he could face life in prison if he lost at trial, but the

 reason he did not file an appeal was that:

             I had no knowledge of what appeal to file. I
             was told by my attorney that if I filed an
             appeal I would receive a life sentence. I was
             told that there would be repercussions.    My
             attorney would not turn over all of the
             documents to my case so that I can properly
             file for my appeals.

 (DE # 1108 at 5).        Putting aside counsel’s confusion over the

 context in which Guerrero’s trial counsel allegedly told him he

 would be facing a life sentence, that was indeed true: Guerrero was

 advised correctly by the Court that he was facing a possible life

 term of imprisonment on Counts One and Two (DE #1114 at 14 -16).

 And, even if Guerrero intended his explanation of why he did not

 raise certain issues previously to be a separate claim for relief -

 which is doubtful - the claim would fail.           Guerrero did not allege

 that he directed his counsel to appeal and counsel refused. Roe v.

 Flores-Ortega, 528 U.S. 470, 477 (2000).            There are no allegations

 that his wishes were disregarded. In the absence of direction from

 a client to file an appeal, a lawyer remains obligated to consult

 with his client regarding “the advantages and disadvantages of

 taking an appeal” and make a “reasonable effort to discover the

 [client’s] wishes.”     Id. at 478.         Where an attorney consulted with

 the client regarding a possible appeal, the attorney can only be

 deemed professionally deficient if he then fails to follow the

 client’s express instructions regarding the possible appeal.                  Id.


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 Here, Guerrero’s section 2255 motion reveals that some discussion

 about whether an appeal was warranted took place between Guerrero

 and trial counsel, however imperfect they may have been, and fails

 to assert that Guerrero then directed that an appeal be filed.

 Guerrero has not demonstrated his counsel was ineffective by

 advising him not to appeal or failing to file an appeal on his

 behalf.



 Certificate of Appealability

       Pursuant to Rule 11 of the Rules Governing Section 2255

 Proceedings, a district court must “issue or deny a certificate of

 appealability       when   it   enters    a   final    order   adverse      to   the

 applicant.”    A certificate of appealability may issue only if the

 applicant “has made a substantial showing of the denial of a

 constitutional right.”          28 U.S.C. § 2253(c)(2).         To make such a

 showing, a defendant must show that “reasonable jurists could

 debate whether (or, for that matter, agree that) the motion should

 have been resolved in a different manner or that the issues

 presented    were    adequate      to   deserve   encouragement        to   proceed

 further.”     Slack v. McDaniel, 529 U.S. 473, 484 (2000) (internal

 quotation marks and citation omitted).

       For the reasons set forth above, Guerrero has not stated any

 grounds for relief under section 2255.                The Court finds no basis

 for   a   determination     that    reasonable    jurists      would    find     this


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 decision    debatable    or   incorrect     or   that   the   issues      deserve

 encouragement to proceed further.            Therefore, a certificate of

 appealability will not be issued.




 CONCLUSION

       For the aforementioned reasons, Defendant’s section 2255

 motion is DENIED.       The Clerk is ORDERED to DISMISS this case WITH

 PREJUDICE.     Further, this Court declines to issue Defendant a

 certificate of appealability.          The Clerk is ORDERED to distribute

 a copy of this order to Alex Guerrero, #11905-027, Allenwood FCI -

 1000- Low, Federal Correctional Institution, Inmate Mail/Parcels,

 P.O. Box 1000, White Deer, PA 17887, or to such other more current

 address that may be on file for the Petitioner.



 DATED: June 22, 2015                             /s/ RUDY LOZANO, Judge
                                             United States District Court




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